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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
JPL                                                271 Cadman Plaza East
F. #2019R01460                                     Brooklyn, New York 11201



                                                   February 27, 2023

By ECF

The Honorable Eric N. Vitaliano
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Javier Aguilar
                      Criminal Docket No. 20-390 (ENV)

Dear Judge Vitaliano:

                The government writes, having conferred with defense counsel, to provide an
update to the Court concerning the motions which are to be filed in this case by Friday,
March 3, 2023. Defense counsel has recently informed the government that in addition to
filing the anticipated motion to sever as discussed at the last status conference, the defense
also intends to file motions for a bill of particulars and to suppress electronic evidence
obtained by the government pursuant to a search warrant.

              In light of the recently expanded scope of defense motions to be filed, the
government respectfully requests that its response to the motions for a bill of particulars and
suppression be due by March 31, 2023, with any reply by the defense due by April 14, 2023.

              The briefing schedules previously set by the Court for the motion to sever, as
well as the government’s initial motion in limine to admit evidence of other acts, would
remain unaffected.
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             The government has conferred with defense counsel who consents to this
request.

                                               Respectfully submitted,

                                               BREON PEACE
                                               United States Attorney

                                        By:                 /s/
                                               Jonathan P. Lax
                                               Assistant U.S. Attorney
                                               (718) 254-6139

cc:    Counsel of Record (by ECF)




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